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                          UNITED STATES DISTRICT COURT
                          IV11DDLE DISTRICT OF LOUISIANA
JOHNSON
                                                                     CIVIL ACTION
VERSUS
                                                                     20-733-SDD-RLB
AGILITYFUEL
SYSTEMS, INC.,ETAL.
                                        RULING

        The Court has carefully considered the Motion^ the record, the law applicable to

this action, and the Report and Recommendations2 of United States Magistrate Judge

Richard L. Bourgeois, Jr., dated September 7, 2021, to which an Objection^ and Joint

Response4 were filed and also reviewed.


        The Court hereby approves the Report and Recommendations of the Magistrate

Judge and adopts it as the Court's opinion herein.

        ACCORDINGLY, BFI's Motion for Leave to File Complaint of Intervention (Rec.

Doc. 12) and BFI's Motion to Remand Case to State Court (Rec. Doc. 15) are hereby

DENIED.

        IT IS FURTHER ORDERED that Plaintiff's claims in this action are hereby

DISMISSED WITHOUT PREJUDICE because BFI is an intervenor of right pursuant to

Rule 24(a), and a required party whose Joinder is not feasible under Rule 19(b).

        Judgment shall be entered accordingly.

        Signed in Baton Rouge, Louisiana the / day of October, 2021.



                                  ^CHIEF JUD^SHELLY D. DICK
                                     UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF LOUISIANA
1 Rec. Doc. 12.
2 Rec. Doc. 21.
3 Rec. Doc. 22.
4 Rec. Doc. 23.
